Case 3:20-cv-08632-MAS-ZNQ Document1 Filed 07/10/20 Page 1 of 18 PagelD: 1

JS 44 Rev, 06/14) CIVIL COVER SHEET

The J§ 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules ef court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEZ INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

IT. (a) PLAINTIFFS DEFENDANTS
Valerie Rosa Mario DeJesus
{b} County of Residence of First Listed Plaintiff Monmouth, NJ _ County of Residence of First Listed Defendant Philadelphia, PA___
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

   
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(¢) Attomeys (Firm Name, Address, and Telephone Number) Attomeys (If Known)
Falcon Law Firm, 714 W. Park Ave., Oakhurst, NJ 07755, (732) Salmon, Ricchezza, Singer & Turchi, 123 Egg Harbor Road, Sewell,
660-1200 NJ 08080 (856) 354-8074
II. BASIS OF JURISDICTION (Place an "xX" in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
Jt US. Goveriment 1) 3. Federal Question PTF DEF PTF DEF
PlaintifY {U.S. Government Nota Party) Citizen of This Stale Xi O 1 Incorporated or Principal Place ga4 o4
of Business (n This State
2° US. Government 4 Diversity Citizen of Another State O 2 & 2 Incorporated and Principal Place o5 o8
Defendant Undicate Citizenship of Parties in ftem Il) of Business In Another State
Citizen or Subject of a O32 9 3 Foreign Nation a6 O86
Foreign Counity
TV, NATURE OF SUIT jftace an "x" in One Box Only) Click here for: Nuture of’ Suit Code Deseriptions.
t COSTRACT. TORTS FORFEITURE/PENAL EY. BANKRUPTCY OTHER STATUTES
0 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Deug Related Seizure (1 422 Appeal 28 USC 158 OV 375 False Claims Act
O 120 Marine OG 310 Airplane © 365 Personal Injury - of Property 2] USC 881 [O 423 Withdrawal O 376 Qui Tam (31 USC
M130 Miller Act (3 345 Airplane Product Praduct Liability 1 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liabilily (J 367 Health Care/ O 400 State Reapportionment
O 1580 Recovery of Overpayment | 320 Assault, Libel & Pharmaccutical *ROPE! RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (0 820 Copyrights O 430 Banks and Banking
O 131 Medicare Act © 330 Federal Employers’ Product Liability © 930 Patent O 450 Commerce
0 182 Recovery of Defaulied Liability CF 368 Asbestos Persanal © 835 Patent - Abbreviated 1) 460 Deportation
Student Loans O 340 Marine Injury Product New Drug Application |O 470 Racketeer Influenced and
(Excludes Veterans) OG 345 Marine Product Liability (_840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR OC SECU DO 480 Consumer Credit
of Veteran's Benefits 2 350 Motor Vehicle © 370 Other Froud 710 Fair Labor Standards O 4861 HIA (139511) 5 490 Cable/Sat TV
CD 160 Stockholders’ Suits © 355 Motor Vehicle © 371 Tmth in Lending Act O 9862 Black Lung (923) O 850 Securitices‘Commodities/
1 190 Other Contract Product Liability C) 380 Other Personal f) 720 Labor/Manogemeat OD 863 DIWC/DIWW (405(g)) Exchange
O 195 Contract Product Liability | 360 Other Personal Property Dumage Relations O 864 SSID Title XVI J 890 Other Stanitory Actions
O 196 Franchise Injury O 385 Property Damage ( 740 Raitway Labor Act 865 RS) (405(g)) O 89) Agricultural Acts
1 362 Personal Injury - Product Liability © 751 Family and Medical 9 893 Environmental Matters
Medical Malpractice Lenve Act ©) 895 Freedom of Information
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|(J 790 Other Labor Litigation FEDERAL TAX SUITS Act
O 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: {1 791 Employes Retirement © 870 Taxes (U.S. Plaintiff OF 896 Arbitration
O =220 Foreclosure O 441 Voting 0 463 Alicn Detainee Income Security Act or Defendant) 899 Administrative Procedure
O 230 Rent Lease & Ejectment ) 442 Employment © 510 Motions to Vacate © 871 [RS—Third Party AcUReview or Appeal of
O 240 Tons to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tart Product Liability Accommodations O 530 General G 950 Constitutionality of
O 290 All Cther Real Property OD 445 Amer. w/Disabilities -|O) 535 Death Penalty IMMIGRATION State Statutes
Employment Other: (0 462 Naturalization Application
O 446 Amer. w/Disabilitics -] 540 Mandamus & Other | 465 Other [mmigration
Other C) 550 Civil Rights Actions
O 448 Education 0 555 Prison Condition
OG 560 Civil Detainee -
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V. ORIGIN (Place an "X” ia One Box Only)
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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation-

(gpecite) Tronster Direct File
Cite the U.S. Civil Statute under whieb you are filing (De sa cite jurisdictional statutes unless diversity/:

28 U.S.C. Section 1441 and 28 U.S.C. Section 1446 and 28 U.S.C. 1332
Brief description of cause:
personal injury, motor vehicle

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN ©) CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT; UNDER RULE 23, F.R.Cv.P. 10,000,000.00 JURY DEMAND: J Yes ONo
VIM. RELATED CASE(S)

(See instructions):

IF ANY JUDGE — | _ __DOCKETNUMBER
f SIG pes (: \
_ Adme

RECEIPT # AMOUNT APPLYING ITP JUDGE MAG. JUDGE

DATE

 
   
 

   

FOR OFFICE USE OBLY
Case 3:20-cv-08632-MAS-ZNQ Document1 Filed 07/10/20 Page 2 of 18 PagelD: 2

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY (TRENTON VICINAGE)

VALERIE ROSA,
CIVIL ACTION NO.
Plaintiff,
JURY TRIAL DEMANDED
v.

MARIO DE JESUS, ASSURED PARTNER:
TRANSPORT, and JOHN DOES 1-10
(representing presently unidentified
individuals, businesses and/or corporations
who owned, operated, maintained,
supervised, designed, constructed, repaired
and/or controlled the vehicle in question or :
otherwise employed the defendants),
Defendants.
NOTICE OF REMOVAL

PLEASE TAKE NOTICE that Defendant Mario DeJesus, by and through his attorneys,
Salmon, Ricchezza, Singer & Turchi, LLP, hereby removes this matter from the Superior Court of
New Jersey, Law Division, Monmouth County, to the United States District Court of the District of
New Jersey pursuant to 28 U.S.C. Section 1441 et seq. and in support thereof avers as follows:

1. On or about June 11, 2020, Plaintiff Valerie Rosa filed a Complaint in the Superior
Court of New Jersey, Law Division, Monmouth County. (A copy of the Complaint is attached
hereto as Exhibit “A.”)

2. Summons was issued by Plaintiff to Mr. DeJesus. The summons was dated June 12,
2020. (A copy of the summons is attached hereto as Exhibit “B.”)

3. Mr. DeJesus received the summons and Complaint via service on or after June 15,
2020.

4. At all times relevant hereto, Plaintiff is and was a citizen of the State of New Jersey

residing at 66 Wolfhill Avenue, Oceanport, NJ 07757.
Case 3:20-cv-08632-MAS-ZNQ Document1 Filed 07/10/20 Page 3 of 18 PagelD: 3

5. At all times relevant hereto, Mr. DeJesus is and was a resident of Pennsylvania with
a residence of 2757 Tremont Street, Philadelphia, PA 19136.

6. The other named party to this litigation is Assured Partner Transport. To the best of
Mr. DeJesus’s knowledge, Assured Partner Transport is not a legally recognized entity and does not
exist.

7. The Complaint alleges that Plaintiff sustained injuries as a result of an accident on
January 23, 2019, while she was driving on Somme Street near the intersection with Ferry Street, in
Newark, NJ.

8. The Complaint alleges that, as a result of the alleged incident in question, she
suffered the following:

[s]Jevere, serious and permanent injuries; she was caused to suffer
great pain and anguish and will in the future be caused to suffer great
pain and anguish; was caused to incur medical expenses and will in
the future be caused to incur medical expenses; has been and will in
the future be disabled and prevented from attending to her necessary

affairs and business.

Plaintiff [] further contends that the physical injuries she sustained as
a result of this collision are permanent.

(Ex. A).

9. In the Complaint Plaintiff demands damages against Mr. De Jesus in the amount of
$10,000,000 ($5,000,000 in Count I; and $5,000,000 in Count IV). (Ex. A).

10. Based on the aforementioned injuries, it appears that this case has an amount in
controversy in excess of $75,000.00 exclusive of interest and costs.

11. This Court has original jurisdiction of this matter pursuant to 28 U.S.C. §1332 in that
there is complete diversity of citizenship.

12. The documents attached hereto constitute all of the pleadings, process and orders

served upon the petitioner in this action in Superior Court.
Case 3:20-cv-08632-MAS-ZNQ Document1 Filed 07/10/20 Page 4 of 18 PagelD: 4

13. This case is removable from Superior Court pursuant to 28 U.S.C. §1446 et seq.

14. _—‘ This notice is being filed within thirty (30) days of service of Plaintiff's summons
and Complaint on the first Defendant to receive service in this matter.

15. Diversity of citizenship existed at the time the action sought to be removed was
commenced and continues through the time of filing of this Notice such that Defendant is entitled to
remove this matter pursuant to 28 U.S.C. §§1332, 1441 and 1446.

16. Based on the matter set forth here and above, this case is removable and said
removal has commenced within the time provided by 28 U.S.C. §1446(b).

17. All named Defendants consent to removal of this matter.

WHEREFORE, Defendant Mario DeJesus prays that the above-captioned action, now

pending against it in the Superior Court of New Jersey, be removed therefrom to this Court.

SALMON, RICCHEZZA, SINGER & TURCHI Lip

/s/ Justin P. Callaway
Zachary Ballard, Esq. (NJ ID #1447-2007)
Justin P. Callaway, Esq. (NJ ID #03201-2007)
123 Egg Harbor Road, Suite 406
Sewell, NJ 08080
Phone: (856) 354-8074
Fax: (856) 354-8075
Attorney for Defendant Mario DeJesus
Case 3:20-cv-08632-MAS-ZNQ Document1 Filed 07/10/20 Page 5 of 18 PagelID: 5

EXHIBIT A
Case 3:20

 

“¢V-08632-MAS;ZNO. .Regumenha, FilecL0s/10(20. Rage 6.ofd8BagelD: 6
FALCON LAW FIRM, LLC
PATRICK L, FALCON, ESQ.
(R-036821993)
714 WEST PARK AVE
OAKHURST NEW JERSEY 07755
732-660-1200
Attorneys for Plaintiff
VALERIE ROSA : SUPERIOR COURT OF NEW JERSEY

Plaintiff(s), ; LAW DIVISION
: MONMOUTH COUNTY
Vs
DOCKET NO.:

MARIO DE JESUS, ASSSURED Civil Action

PARTNER TRANSPORT, and JOHN
DOES 1-10 (representing, presently
unidentified individuals, businesses
and/ or corporations who owned,
operated, maintained, supervised,
designed, constructed, tepaired and/or

COMPLAINT, NOTICE TO PRODUCE,
DEMAND FOR ANSWERS TO
INTERROGATORIES, SUPPLEMENTAL
INTERROGATORIES, DEMAND FOR

controlled the vehicle in question or 7 ISCOVERY OF INSURANCE
otherwise employed the defendants) COVERAGE, JURYDEMAND,
° DESIGNATION OF TRIAL COUNSEL,
AND CERTIFICATION

Defendants.

 

 

 

Plaintiff, Valerie Rosa, residing at 66 Walfhill Avenue, Oceanport, County of
‘Monmouth, State of New Jersey, through her attorneys complaining of the defendants
says:

FIRST COUNT
1, On or about January 23, 2019, the plaintiff, VALERIE ROSA was traveling on
Somme Street at the intersection of Ferry Street in the City of Newark, State of New Jersey.
2. At the time and place aforesaid, defendant, MARIO DE JESUS was opérating his
vehicle in a negligent manner as to cause a collision with plaintiff's vehicle, causing
plaintiff, VALERIE ROSA to sustain severe, serious and permanent injuries; she was
caused to suffer great pain arid anguish and will in the future be caused to suffer great pain

and anguish; was caused to incur medical expenses and will in the future be caused to

1

 
Case 3:20-¢v-08632,MASGNQ.uROGUNED A, FYScLOZ/LA20Ragecoh d&eagelD: 7

incur medical expenses; has been and will in the future be disabled and prevented from
attending to her necessary affairs and business.

4. Plaintiff VALERIE ROSA, further contends that the physical injuries she
sustained as a result of this collision are permanent.

WHEREFORE, the plaintiff, VALERIE ROSA, demands Judgment against all
defendants, jointly, severally or in the alternative, for damages, interest and cost of suit.

SECOND COUNT

1, The plaintiff VALERIE ROSA, repeats the allegations contained in the First
Count as if the same were moré fully set forth herein and made a part hereof.

2. Atall times hereinbefore stated defendant ASSURED PARTNER TRANSPORT
was the owner of the motor vehicle operated by defendant Mario DeJesus, who was acting
as their servant, agent and/or employee. Defendant Mario DeJesus was an employee of
Assured Parmer Transport and was acting on their behalf.

3. As a direct and proximate cause of the negligence of defendant ASSURED
PARTNER TRANSPORT, the plaintiff, VALERIE ROSA, was caused to sustain severe;
serious and permanent injuries; she was caused to suffer great pain and anguish and will in
the future be caused to suffer great pain and anguish; was caused. to: incur medical
expenses and will in the future be caused to incur medical expenses; has been and will in
the future be disabled and prevented from attending to her necessary affairs and business.

WHEREFORE plaintiff VALERIE ROSA demands Judgment against defendant
ASSURED PARTNER TRANSPORT on this Count together with interest and costs of suit.

THIRD COUNT

 

 

 
Case 3:

 

;29-CV-08632- MAS ANQ, .DOSHRe et Giled G7/LN2R,. Pada Bois eagelD: 8

1. The plaintiff, VALERIE ROSA repeats the allegations contained in the First
and Second Count as if the same were more fully set forth herein and made a pari
hereof.
2. Defendant, JOHN DOES 1-10, were responsible for the ownership, operation,
maintenance, control, supervision and/or tepair of the aforementioned subject vehicles
or otherwise employed the defendant, were negligent in the manner in which the said
vehicles were owned, operated, maintained, controlled, supervised and/or repaired.
3, Asa direct and proximate cause of the negligence of defendant, JOHN DOES
1-10, the plaintiff, VALERIE ROSA, was caused to sustain severe, serious and permanent
injuries; she was caused to suffer great pain and anguish and will in the future be caused to
suffer. great pain and anguish; was caused to incur medical expenses and will in the future
be caused to incur medical expenses; has been and will in the future be disabled and
prevented from attending to her necessary affairs and business.
WHEREFORE, the plaintiff, VALERIE ROSA , demands judgment against all
defendants, jointly, severally or in the alternative, for damages, interest and cost of suit.
FOURTH COUNT

1. The plaintiff, VALERIE ROSA repeats the allegations contained in the First,
Second and Third Counts as if the same were more fully set forth here and made aj
part hereof.
2. Plaintiff, VALERIE ROSA alleges that there was a violation of New Jersey

Motor Vehicle Statutes, N.J.S.A: 39:4-97, and other Motor Vehicle Regulations, which

violations constitute a statutory tort.

 

 
 

Case 3:20-cv-08632-MAS-ZNO, Document, Fue Os/1OrR0, Rage 2.0%, 42,PagelD: 9

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WHEREFORE, the plaintiff VALERIE ROSA demands Judgment against the

defendants, jointly, severally or in the alternative, for damages, interest and cost of suit.

FALCON LAW FIRM, LLC
Attorneys for Plaintiff (s)

Dated: June 11, 2020 tenandar Ry, De Seve

 

ALEXANDER R. DeSEVO

Pursuant to Rule-4:5-2, we hereby demand the following on behalf of plaintiff(s):
First Count — Plaintiff hereby demands Damages in the amount of $5,000,000.00.
Second Count — Plaintiff hereby demands Damages in the amount of $5,000,000.00.
Third Count -- Plaintiff hereby demands Damages in the amount of $5,000,000.00

Fourth County - Plaintiff hereby demands Damages in the amount of $5,000,000.00

REQUEST FOR ADMISSIONS

PLEASE admit or deny the following:
1. The version of the accident on the police report is accurate.
2. The Defendant is fully liable for the happening of the accident.
3. The Plaintiffs' injuries referenced were proximately caused by Defendant’s

negligence on January 23, 2019.

 

 

 
Case 3:20-Cv.08632 MAS-ZNQ, OMe dun Filpd QUAL Pads ADoOfLARadelD: 10

4. The Plaintiffs' medical treatment was reasonable and necessary and a proximate

cause of Defendant’s negligence on January 23, 2019.

NOTICE TO PRODUCE

Pursuant to Rule 4:18-1, the plaintiff hereby demands that the defendants
produce the following documents within thirty (30) days:as prescribed by the Rules off
Court. Additionally, please be advised that the following requests are ongoing and
continuing in nature arid the defendant is, therefore, required to continuously update
its tesponses thereto as new information or documentation comes into existence.
1. The amounts of any and all insurance coverage covering the defendants;
including but not limited to, primary insurance policies, secondary insurance policies,
“PUP” (personal umbrella policies) and/or umbrella policies. For each such policy off
insurance, supply a copy of the declaration page therefrom.
2. Copies of:any and all documentation of reports, including but not limited to,

police reports, accident reports and/or incident reports concerning the happening off
the incident in question or any. subsequent investigation of same.
3. Copies or duplicates of any and all photographs, motion pictures,
videotapes, films, drawings, diagrams, sketches, or other reproductions, descriptions oy
accounts concerning the individuals involved in the accident in question, the property
damage sustained, the accident scene, or anything else relevant to the incident in
question.
4. Copies of any and all signed or unsigned statemients, documents,
communications and/or transmissions, whether in writing, made orally or otherwise

recorded by any mechanical or electronic means, made by any party to this action, any
5

 

 

 
Case 3:20-cv-08632-MAS:ZNO ROCMMEN dn Filed NYUIU20 Page LLOiLgRagelD: 11

witness, or any other individual, business, corporation, investigative authority, or other
entity concerning anything relévant to the incident in question.

5, Copies of any and all documentation, induding but not limited to, contracts
between the owner of the property or product involved in the incident in question oy
any of the parties involved in this matter.

6. Copies of any and all:discovery received from any other parties to the action
in question.

7. Copies of any and all medical information and/or documentation
concerning the plaintiff in this matter whether it concerns any medical condition on
treatment which took place before, during or after the time of the incident in question.

8. Copies of any and all records of any type subpoenaed by the defendant or
received from any other source concerning the plaintiff or the incident in question.

9. Any and all documents with regard to the Defendant’s daim or that which
Defendant's shall.introduce at trial including but not limited to the following:

a. a copy of statements obtained by any witness that are not privileged and
which have been reduced to writing in some fashion;

b. copies ofany incident reports on file for the incident in question;

c. copies of any repair orders on file for the vehicles in question,

d. copies of any medical. reports relating to the Plairstiff-in the possession of the
Defendant, whether or not such records or teports are for injuries sustained in this
incident or at any time unless previously obtained by the Defendant from the
undersigned counsel;

f.copies of any police reports or records obtained which in any way relate to the

incident which is the subject of this claim,
6

 

 

 
g. copies of any Municipal, county, state or Federal investigative reports;
h. copies of any drawings, maps, charts, diagrams or other representation of the
scene of the incident or of any other aspect of the accident which is subject of this claim;
icopies of any photographs taken of the Plaintiff subsequent to the incident
which is the subject of this claim, including any surveillance photos that Defendant may
offer into evidence at the time of trial;
j.copies of any motion pictures or video tapes taken of the Plaintiff subsequent to
the incident which is the subject of this daim;
k, copies of any and all report of any expert who has received any aspect of this
case on behalf of the Defendant or Defendant's attorney or who have submitted a report}

to either the Defendant, or Defendant’s attorney;
DEMAND FOR INTERROGATORIES
Demand is hereby made on the defendants to answer fully and responsively|
Form C and Form C(1) uniform interrogatories, personal injury, Superior Court, found
in Appendix II as provided by R.4:17-1(b)(ii) and the other applicable Rules of Court.
SUPPLEMENTAL INTERROGATORIES

1. Describe in detail any obstructions to your view at the time and location of
the accident set forth in the Complaint served upon you.
2. Describe in detail any traffic control devices at or near the place of the
accident set forth in the Complaint served upon you.
3. State where the point of impact: between the vehicles involved ii the accident
set forth in the Complaint served upon you took place, giving distances in feet with

reference to the nearest intersection or other established points.

 

 

 
 

Case 3:2!

 

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4. Describe in detail how much time elapsed from the time you first observed
Plaintiffs veliicle until the impact occurred.
5. When you first observed the plaintiff, state the distance in feet between
defendant's motor vehicle and the point of impact.
6. Whén you first saw plaintiff, state where plaintiff was with teference to the
position of defendant’s vehicle.
7. At the moment of impact, set forth the speed min.p.h. of defendant’s vehicle
and the speed inm.ph. of plaintiff's vehicle.
8. If you have reviewed the police report, describe in detail whether it is
complete and accurate.
9. Describe in detail any problems you had with the vehicle you were driving.
10. Describe in detail the amounts of any and all insurance coverage covering
the defendant, including but not limited to, pritmary insurance policies, secondary,
insurance policies, “PUP” (personal umbrella policies) and/or umbrella insurance
policies. For each such policy of insurance, supply a copy of the declaration page
therefrom.
DEMAND FOR DISCOVERY OF INSURANCE COVERAGE
Pursuant to R:4:10-2(b), demand is hereby made that defendant disclose to
plaintiff's attorney whether there are any insurance agreements or policies under whic
any person or firm cartying on an insurance busiriess may be liable to satisfy part or all
of a judgment and provide plaintiff's attorney with true copies of all such insurance
agreements or. policies including; but not limited to, any and all declaration sheets. This
demand shall be deenied to-include and cover not only primary coverage but also and

all excess, catastrophe, PUP (Personal Umbrella Policy) and umbrella policies.
8

 

 
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DESIGNATION OF TRIAL COUNSEL

PLEASE TAKE NOTICE that pursuant to R.4:25-4, Alexander R. DeSevo,

Esquire, (Attorney [.D. Number 010231994) is hereby designated as trial counsel in the

above matter for the firm of Falcon Law Firm, LLC, attorneys for the plaintiff.

[JURY DEMAND

PLEASE TAKE NOTICE THAT, the plaintiff, pursuant to R. 4:35-1 hereby
demands a trial by jury.

CERTIFICATION

I hereby certify that this matter is not the subject matter of any other suit

presently pending in any other Court or in any Arbitration proceeding. At this time, we

know of no other parties not named herein that should be joined.

FALCON LAW FIRM, LLC
Attorneys for Plaintiff (s)
Ftlonandar AR, Do Seve
By:
Dated; June 11, 2020 ALEXANDER R. DeSEVO

 

 

 

 
Case 3:20-cv-08632-MAS-ZNQ Document1 Filed 07/10/20 Page 15 of 18 PagelD: 15

EXHIBIT B
FALCON LAW FIRM, LLC
Patrick L. Falcon, Esq.
Attorney ID No.: - 036821993
714 WEST PARK AVENUE
OAKHURST, NJ 07755.
732-660-1200

Attorney(s) for Plaintiff(s):

Case 3:20-cv-08632-MAS-ZNQ Document1 Filed 07/10/20 Page 16 of 18 PagelD: 16

 

 

VALERIE ROSA

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
Plaintiff(s), MONMOUTH COUNTY
Vs DOCKET NO.: MON-L-1827-20
Civil Action
MARIO DE JESUS, ASSSURED
PARTNER TRANSPORT, arid JOHN SUMMONS

DOES 1-10 (representing presently
unidentified individuals, businesses
and/or corporations who owned,
operated, maintained, supervised,
designed, constructed, repaired
and/or controlled the vehicle in
question or otherwise employed the
defendants),

 

 

THESTATE OF NEW JERSEY TO THE DEFENDANT NAMED ABOVE,
MARIO DE JESUS

The plaintiff, named above, has filed a lawsuit against you in the Superior
Court of New Jersey: The complaint attached to this summons states the basis
for this lawsuit. If you dispute this complaint, you or your attorney must file a
written answer or motion and proof of servicé with the deputy clerk of the
Superior Court in the county listed above within 35 days from the date you
received this summons, not counting the day you received it. (A directory of the
addresses of each deputy clerk of the Superior Court is available I the Civil
Division Management Office in the county listed above and online at
http:// www.judiciaty.state.nj.us/pro_se/10153_deptyclerklawref.pdf) If the
complaint is one in foreclosure, then you must file your written answer or
motion and proof of service with the Clerk of the Superior Court, Hughes Justice
Complex, P.O. Box 971, Trenton, New Jersey 08625-0971. A filing fee payable to
the Treasurer, State of New Jersey and a completed Case Information Statement
Case 3:20-cv-08632-MAS-ZNQ Document1 Filed 07/10/20 Page 17 of 18 PagelD: 17

(available from the deputy clerk of the Superior Court) must accompany your
answer or motion when it is filed. You must also send a copy of your answer or
motion to plaintiff's attorney whose name and address appear above, or to
plaintiff, if no attorney is named above. A telephone call will not protect your
rights; you must file and serve a written answer or motion (with fee of $175.00
and completed Case Information Statement) if you want the court to hear your
defense.

If you do not file and serve.a written answer or motion within.35 days, the
court may enter a judgment against you for the relief plaintiff demands, plus
interest and costs of suit. If judgment is entered against you, the Sheriff may
seize you money, wages, or property to pay all or part of the jadgment.

If you cannot afford an attorney, you may call the Legal services office in
the county where you live or the Legal Services:of New Jersey Statewide Hotline
at 1-888-LSN]-LAW (1-888-576-5529). If you do not have an attorney and are not
eligible for free legal assistance, you may obtain a referral to an attorney by
calling one of the Lawyer Referral Services. A directory with contact information
for local Legal Services Offices and Lawyer Referral Services is available at
hitp://www.judiciary.state-nj.us/prose/10153_deputyclerklawref pdf.

Dated: June 12, 2020 si//Michelle M. Smith

 

Clerk of Superior Court

Namie of Defendant Be Served: MARIO DeJESUS
Address of Defendant to Be Served: 2757 TREMONT STREET
PHILADELPHIA, PA.
Case 3:20-cv-08632-MAS-ZNQ Document1 Filed 07/10/20 Page 18 of 18 PagelD: 18

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY (TRENTON VICINAGE)

VALERIE ROSA,
CIVIL ACTION NO.
Plaintiff,
JURY TRIAL DEMANDED

Vv.

MARIO DE JESUS, ASSURED PARTNER:
TRANSPORT, and JOHN DOES 1-10
(representing presently unidentified
individuals, businesses and/or corporations
who owned, operated, maintained, :
supervised, designed, constructed, repaired :
and/or controlled the vehicle in question or :
otherwise employed the defendants),

Defendants.
CERTIFICATE OF SERVICE
I, Justin P. Callaway, Esquire, hereby certify that the foregoing Notice of Removal was
served on this 10" day of July, 2020, via U.S. First Class Mail upon the following counsel of
record.

Patrick L. Falcon, Esq.
Falcon Law Firm, LLC
714 West Park Avenue
Oakhurst, NJ 07755

SALMON, RICCHEZZA, SINGER & TURCHI Lip

/s/ Justin P. Callaway
Zachary Ballard, Esq. (NJ ID #1447-2007)
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